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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Felicia Hankins
                                                         Plaintiff,
v.                                                                       Case No.:
                                                                         1:19−cv−00147
                                                                         Honorable Edmond
                                                                         E. Chang
Alpha Kappa Alpha Sorority, Inc., Gamma Chi
Chapter, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 22, 2023:


        MINUTE entry before the Honorable Edmond E. Chang: On review of the status
report, R. 447, the parties have settled the case in principle at the mediation of 06/21/2023.
The pretrial and trial deadlines and schedules are vacated. The Plaintiff's motion to seek
approval and distribution is due on 07/12/2023 (but of course may be filed sooner). The
tracking status hearing set for 07/07/2023 is reset to 07/21/2023 at 8:30 a.m., but to track
the case only (no appearance is required, the case will not be called). All now−pending
motions are terminated without prejudice. Emailed notice (mw, )




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